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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA


Heather Baker, o/b/o             )
William Dale Baker,               )
                                 )
                    Plaintiff,   )
                                 )
v.                               )               Civil Action No. 2:17-cv-986-BHH
                                 )
Nancy A. Berryhill,              )
Acting Commissioner of the       )                             ORDER
Social Security Administration,  )
                                 )
                    Defendant.   )
________________________________)

       This matter is before the Court on Plaintiff Heather Baker’s (“Plaintiff”) complaint,

which she filed on behalf of her now deceased husband, pursuant to 42 U.S.C. § 405(g),

seeking judicial review of the Commissioner of Social Security’s final decision, which

denied William Dale Baker’s claims for disability insurance benefits and supplemental

security income. The record includes the report and recommendation (“Report”) of a

United States Magistrate Judge, which was made in accordance with 28 U.S.C. §

636(b)(1)(B) and Local Civil Rule 73.02(B)(2)(a), D.S.C. In the Report, which was filed on

July 16, 2018, the Magistrate Judge recommends that the Court reverse the

Commissioner’s decision pursuant to sentence four of 42 U.S.C. § 405(g) and remand the

case to the Commissioner for a new hearing consistent with the Report. In a notice filed

on July 23, 2018, Defendant informed the Court that she will not be filing objections to the

Magistrate Judge’s Report.

       The Magistrate Judge makes only a recommendation to the Court.                   The

recommendation has no presumptive weight, and the responsibility to make a final
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determination remains with the Court. Mathews v. Weber, 423 U.S. 261 (1976). The Court

is charged with making a de novo determination only of those portions of the Report to

which specific objections are made, and the Court may accept, reject, or modify, in whole

or in part, the recommendation of the Magistrate Judge, or recommit the matter to the

Magistrate Judge with instructions. 28 U.S.C. § 636(b)(1). In the absence of specific

objections, the Court reviews the matter only for clear error. See Diamond v. Colonial Life

& Accident Ins. Co., 416 F.3d 310, 315 (4th Cir. 2005) (stating that “in the absence of a

timely filed objection, a district court need not conduct a de novo review, but instead must

‘only satisfy itself that there is no clear error on the face of the record in order to accept the

recommendation.’”) (quoting Fed. R. Civ. P. 72 advisory committee’s note).

       Here, because no objections were filed, the Court has reviewed the record, the

applicable law, and the findings and recommendations of the Magistrate Judge for clear

error. Finding none, the Court hereby adopts and incorporates the Report (ECF No. 21).

Therefore, it is ORDERED that the decision of the Commissioner of Social Security is

reversed pursuant to sentence four of 42 U.S.C. § 405(g), and this case is remanded to the

Commissioner for further proceedings as set forth in the Report.

       IT IS SO ORDERED.


                                                    /s/Bruce H. Hendricks
                                                    The Honorable Bruce Howe Hendricks
                                                    United States District Judge

July 24, 2018
Charleston, South Carolina




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